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                      UNITED STATES DISTRICT COURT FOR THE
                           SOUTHERN DISTRICT OF FLORIDA
                                    Ft.Pierce Division
                     CaseN um ber: IJ-I4O47-CR-M ARTINEZ-LYNCH

  UN ITED STA TES OF AM ERIC A,
        Plaintiff,



  JOE DESILIEN,JR.,
       D efendant.
                                            /

           ORDER ADOPTING M AGISTR ATE JUDGE LYNCH'S REPO RT AND
                            RECO M M ENDATION

         THE M ATTER wasreferred to theHonorable Frank J.Lynch,Jr.,United States
   M agistrateJudgefora ReportandRecomm endation on DefendantJoe Desilien,Jr.'sM otion to

   Dismiss(D.E.No.143)andAmendedM otiontoDismiss(D.E.No.164).M agistrateJudge
   LynchfiledaReportandRecommendation(D.E.No.172),recommendingthatthemotionto
   dismissandamended motion todism issbedenied.The Courthasreviewed the entire fileand

   recordandhasmadeadenovoreview oftheissuesthattheobjectionstotheM agistrateJudge's
   Reportand Recomm endation present.Aftercarefulconsideration,theCourtaffirm sand adopts

   theReportand Recom mendation.Accordingly,itishereby:
         ADJUDGED thatUnited StatesM agistrateJudgeLynch'sReportand Recom mendation

   (D.E.No.172)isAFFIRM ED andADOPTED.Accordingly,itis:
          ADJUDGED that
          DefendantJoeDesilien,Jr.'sMotiontoDismiss(D.E.No.143)andAmendedM otionto
   Dismiss(D.E.No.164)areDENIED.
                                                     .
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          D ON E AN D O RDERED in Cham bers atM i        Florida,th. . day of n ary,2014.


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                                                  > 1 D STA TES D1 RICT JU DG E
   Copiesprovided to:
   M agistrateJudgeLynch
   A11CounselofRecord
